   Case 8:98-cr-00089-SDM Document 99 Filed 09/25/07 Page 1 of 3 PageID 254
A0245D (Rev. 01/07) Judgment in a Criminal Case for Revocation              Sheet 1



                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                                                                 o or   Revocation of Supervised Release)
                   v.
                                                                 Case Number: 8:98-cr-89-T-23EAJ
JOSEPH MORGAN ROGERS, JR.                                        USM Number: 22673-018



                                                                 Defendant's Attorney: Alec Hall, fpd


The defendant admits committing, and is adjudged guilty of committing, the violations charged in
numbered paragraphs one through eight of the May 1. 2007, petition (Doc. 80).

      Violation                                                                            Date
      Number                          Nature of Violation                             Violation Ended

         One            Failure to submit written monthly reports                          07/05/06
         Two            Failure to notify ten days prior to any change of                  06/09/06
                            residence
         Three          Positive urinalysis (cocaine and methamphetamine)                  06/08/06
          Four          Failure to follow instructions of probation officer                06/09/06
          Five          Alleged new criminal conduct while on supervision                  10116/06
                            (possession of handcuff key)
          Six           Alleged new criminal conduct while on supervision                   10116/06
                            (possession of a firearm by convicted felon)
        Seven           Alleged new criminal conduct while on supervision                   10116/06
                            (possession of firearms by convicted felon)
         Eight          Alleged new criminal conduct while on supervision                   10116/06
                            (trafficking in methamphetamine)

The defendant is sentenced as provided in pages two through three of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 in consideration of the factors specified in 18
U.S.C. 3 3553(a), including applicable guidelines and policy statements issued by the United States
Sentencing Commission.

The defendant must notify the United States attorney for this district within thirty (30) days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United
States attorney of material changes in economic circumstances.

                                                                 Se~tember24.2007
                                                        Date of Imposition of Sentence



                                                        Steven D. Merryday
                                                        UNITED STATES DISTRICT JUDGE



                                                        Date
   Case 8:98-cr-00089-SDM Document 99 Filed 09/25/07 Page 2 of 3 PageID 255
A 0 245D (Rev. 01/07) Judgment in a Criminal Case for Revocation                  -
                                                                          Sheet 2 Imprisonment

DEFENDANT:   JOSEPH MORGAN ROGERS, JR.                                    Judgment - Page 2 of 3
CASE NUMBER: 8:98-cr-89-T-23EAJ


                                                   IMPRISONMENT

The defendant is committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of: thirty (30) months to run concurrently with the term of imprisonment imposed in Case
No. 8:07-cr-91-T-27EAJ, United States District Court for the Middle District of Florida.



         -         The court makes the following recommendations to the Bureau of Prisons:



         X         The defendant is remanded to the custody of the United States Marshal.

         -         The defendant shall surrender to the United States Marshal for this district:

                   -        at                        a.m.         p.m.   on

                   -        as notified by the United States Marshal.

         -         The defendant shall surrender for service of sentence at the institution designated by the
                   Bureau of Prisons:

                   -        before 2 p.m. on

                   -        as notified by the United States Marshal.

                   -        as notified by the Probation or Pretrial Services Office.

                                                           RETURN

1 have executed this judgment as follows:


Defendant delivered on                                to                                         at

                                        with a certified copy of this judgment.




                                                                   UNITED STATES MARSHAL


                                                   BY
                                                                   DEPUTY UNITED STATES MARSHAL
Case 8:98-cr-00089-SDM Document 99 Filed 09/25/07 Page 3 of 3 PageID 256
                                              Sheet 3 - Supervised Release
A 0 245D (Rev. 01/07) Judgment in a Criminal Case for Revocation:
DEFENDANT:
-              JOSEPH MORGAN ROGERS, JR.           Judgment - Page 3 of 3
CASE NUMBER:            8:98-cr-89-T-23EAJ



                                             SUPERVISED RELEASE



No term of supervised release is imposed.
